         Case 2:20-cv-02550-MLCF Document 16 Filed 06/08/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


JONATHAN TERREL STEWART                                   CIVIL ACTION

VERSUS                                                    NUMBER: 20-2550

CHARLES BLANCHARD, ET AL.                                 SECTION: "F"(5)


                                           ORDER

       The Court, having considered the complaint, the record, the applicable law and the

Report and Recommendation of the United States Magistrate Judge, and the failure of

Plaintiff to file an objection to the Magistrate Judge’s Report and Recommendation, hereby

approves the Report and Recommendation of the United States Magistrate Judge and

adopts it as its opinion in this matter. Accordingly,

       IT IS ORDERED that Plaintiff’s suit is dismissed with prejudice for failure to

prosecute.

       New Orleans, Louisiana, this     8th day of            June          , 2021.




                                                            MARTIN L.C. FELDMAN
                                                        UNITED STATES DISTRICT JUDGE
